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                               United States District Court
                                Middle District of Florida
                                    Orlando Division

  Matthew Larosiere,
             Plaintiff,

  v.

  Cody Rutledge Wilson, DEFCAD, Inc.,
  Defense Distributed, and Dioskouroi LLC,
             Defendants.

  __________________________                          No. 6:24-cv-1629


  Defense Distributed,
             Counterplaintiff /
             Third-Party Plaintiff,

  v.

  The Gatalog, Matthew Larosiere,
  John Elik, Alexander Holladay, Peter
  Celentano, Josh Kiel Stroke, John Lettman,
  and MAF Corp,
               Counterdefendant / Third-Party
               Defendants.



                               Defendants’ Response to

                          Plaintiff’s Motion for Leave to Reply




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                                        Response

         Plaintiff Larosiere moves for leave to file a preliminary injunction reply brief.

  Doc. 75. But Local Rule 3.01 prohibits replies except when an exceptional need

  is shown, and there is no exceptional need here. Leave to reply should be denied.

  I.     A “simple copyright action” does not need exceptional briefs.

         Plaintiff argued 14 days ago that this preliminary injunction motion does not

  need any special briefing allotments. When Defendants sought leave to file extra

  briefing on this very same injunction motion, Doc. 55, Plaintiff opposed by proudly

  proclaiming that “this is a simple copyright action.” Doc. 56 at 1. Plaintiff’s position

  worked, resulting in a denial of Defendants’ request for extra briefing. Doc. 57.

         Now that the shoe is on the other foot, Plaintiff should have to be consistent.

  If a standard briefing allotment is all that Defendants deserve, Plaintiff should get

  that same thing—the standard allotment being a motion with no reply.

  II.    The motion’s incompleteness warrants denial.

         Deserving preliminary injunction movants address all key issues in the first

  instance. Yet Plaintiff’s motion missed a critical issue altogether. That does not

  warrant any allotment of special extra briefing. It warrants denying the motion.

  III.   Plaintiff already lodged extra briefing on copyrightability.

         If extra briefing were needed, Plaintiff got it already in Document 56. That

  filing was supposed to be about Defendants’ page limits. But Plaintiff instead took

  the liberty of arguing substance, addressing copyrightability with a statutory

  discussion, three cases, and a treatise. Two bites at the apple is enough.

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  IV.   Gamesmanship should not be rewarded.

        The Court’s conferral process should be respected more than Plaintiff did.

  Instead of accurately reporting Defendants’ position on this motion, Plaintiff’s Local

  Rule 3.01(g) certification concocted a straw man. Such gamesmanship should

  never be rewarded, even when the matter is just a minor procedural item.

        Plaintiff’s Local Rule 3.01(g) certification describes Defendants’ position this

  way: “Counsel for Defendants indicated they would not consent to the motion

  because Plaintiff did not request oral argument in this filing.” Doc. 75 at 3. But

  Defendants never made any such argument, as the highlighted correspondence

  shows. They made the arguments given above, which Plaintiff never mentioned:




  Whether Plaintiff supplied a misleading certificate intentionally or carelessly

  matters not. Either way, Plaintiff’s failure to follow a material aspect of the Local

  Rules should make him ineligible for the requested special dispensation.

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                                     Conclusion

        The motion for leave to file a reply should be denied.

                                        Respectfully submitted,




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